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 1                                UNITED STATES DISTRICT COURT

 2                               NORTHERN DISTRICT OF CALIFORNIA

 3                                         SAN JOSE DIVISION
 4   BEIJING LEMON MICROFUN COMPANY,                        Case No. 5:22-cv-05172-VKD
     LTD.,
 5
                                                            CONSENT OR DECLINATION TO
                    Plaintiff,                              MAGISTRATE JUDGE JURISDICTION
 6
               v.                                           Date Filed: September 9, 2022
 7
     TRAILMIX LTD.,                                         Trial Date: None Set
 8
                    Defendant.
 9

10

11             ☐ CONSENT to Magistrate Judge Jurisdiction
12
             In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
13   United States magistrate judge conduct all further proceedings in this case, including trial and
     entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
14   United States Court of Appeals for the Ninth Circuit.
15             OR
16
               ☒ DECLINE Magistrate Judge Jurisdiction
17
            In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
18   magistrate judge conduct all further proceedings in this case and I hereby request that this case be
     reassigned to a United States district judge.
19

20   Dated: September 26, 2022                                KEKER, VAN NEST & PETERS LLP

21
                                                      By:     /s/ Ajay S. Krishnan
22
                                                              AJAY S. KRISHNAN
23                                                            MICHELLE YBARRA
                                                              NICHOLAS D. MARAIS
24
                                                              Attorneys for Plaintiff BEIJING LEMON
25                                                            MICROFUN COMPANY, LTD.

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                       CONSENT/DECLINATION TO MAGISTRATE JUDGE JURISDICTION
                                      Case No. 5:22-cv-05172-VKD
     1912136
